Case 1:01-cv-12257-PBS Document 1772-3 Filed 10/12/05 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

:

In Re: PHARMACEUTICAL )

INDUSTRY AVERAGE WHOLESALE _ )

PRICE LITIGATION ) MDL No. 1456
)
) Master File No. 01-CV-12257-PBS
)

THIS DOCUMENT RELATES TO: ) Judge Patti B. Saris

(All Actions) )
)

DECLARATION OF ADEEL A. MANGI

I, Adeel A. Mangi, declare as follows:

1. Tam associated with Patterson Belknap Webb & Tyler LLP and represent Johnson
& Johnson, Johnson & Johnson Health Care Systems Inc., Centocor Inc., Ortho Biotech Products
L.P., Janssen Pharmaceutica L.P., Ortho Neutrogena Inc., Ortho McNeil Pharmaceutical Inc. and
MeNeil-PPC in this litigation. I offer this declaration in support of Defendants’ Motion To
Compel Third Party United Healthcare To Produce Documents And Witnesses For Deposition
Pursuant To Subpoena.

2. I base this declaration on my (a) personal knowledge, (b) communications with
United’s counsel Michael Prame of the Groom Law Group, and (c) review and discussion with
members of my firm concerning the correspondence with Mr. Prame.

Defendants’ Subpoena to United

3. On April 9, 2004 defendants served a subpoena upon United Healthcare
(“United”) seeking the production of documents and deposition testimony. A copy of that
subpoena is attached as Exhibit 1.

4. United formed a particularly critical part of defendants’ industry sample because
Case 1:01-cv-12257-PBS Document 1772-3 Filed 10/12/05 Page 2 of 4

of its size and status as a major industry player.

5. Defendants served this subpoena on United after Judge Saris had denied a motion
filed by MDL class plaintiff seeking to halt third party health plan discovery and ordered this
discovery to proceed. A copy of Judge Saris’ order is attached at Exhibit 2.

Defendants Have Narrowed the Production Sought

6. After serving United, defendants then entered into a prolonged period of
negotiation with United’s counsel. During that process, defendants substantially narrowed the
scope of the documents sought from United. This process included the exchange of numerous
letters, emails and telephone conferences where defendants sought to work with United to
address any claims of burden and to narrow the scope of documents sought to those absolutely
necessary to defend against plaintiffs’ claims.

7. United did then make a series of rolling productions in fall and late 2004. The
documents produced included copies of contracts with physicians that redacted the names of the
contracting parties and included no information regarding reimbursement rates. The production
also included some contracts between United and PBMs.

8. This production, however, did not satisfy even defendants’ narrowed documents
demands. For example, the documents produced did not even reveal the rates at which United
reimburses physicians administering drugs in office for drugs or services, how those rates are
determined, or the extent of United’s knowledge regarding the AWP benchmark or differences
between its reimbursement rates and physicians’ drug acquisition costs.

9. Defendants then engaged in continued negotiations with United to get
supplemental production of missing documents and deposition testimony. This again included

emails, letters and telephone conferences. United, however, refused to produce supplemental

1212969v2
Case 1:01-cv-12257-PBS Document 1772-3 Filed 10/12/05 Page 3 of 4

documents or a deposition witness.

10. On May 27, 2005 defendants sent United a letter at United’s request detailing the
outstanding production issues and again seeking a deposition date. A copy of that letter is
attached as Exhibit 3. United’s position did not change.

11. Left with no further options, on September 16, 2005, defendants sent counsel for
United a motion to compel in draft form, offering to hold a meet and confer prior to filing the
motion. A copy of that email is attached as Exhibit 4.

12. United did then engage in substantive discussion about the subpoena and even
asked for parameters on specific production issues, e.g., regarding claims data. On September
30, 2005 defendants wrote to United providing the information and specifics they requested. At
United’ request, defendants also provided a further narrowed list of deposition topics, which
were incorporated by reference to the subpoena. A copy of that letter is attached as Exhibit 5,

13. To defendants’ surprise, however, United wrote back on October 4, 2005
refusing to make any productions of documents or witnesses. See Exhibit 6.

This Court Has Previously Granted Similar Motions Against Other Health Plans

14. Meanwhile, Judge Bowler issues orders in response to other motions requiring
Aetna, Cigna and Humana to produce deposition witnesses (Exhibit 7) and ordering Health Net
to produce documents and data in response to defendants’ subpoena (Exhibit 8). The Court
directed that the depositions of Aetna, Cigna and Humana could proceed on the same issues that
defendants hope to address with United. Health Net was ordered to produce an even broader set
of documents (as the demands then encompassed self administered drugs as well) than those that
United is refusing to produce here.

I declare under penalty of perjury that the foregoing is true and correct.

1212969v2
Case 1:01-cv-12257-PBS Document 1772-3 Filed 10/12/05 Page 4 of 4

/s/ Adeel Mangi

Adeel A. Mangi

Executed on this 12" day of October 2005

1212969v2
